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 5
 6
                         IN THE UNITED STATES DISTRICT COURT
 7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,        )          CR. No. S-08-389 GEB
10                                    )
                     Plaintiff,       )
11                                    )          MOTION TO DISMISS COUNT ONE
                  v.                  )          OF THE INDICTMENT
12                                    )          AND ORDER
                                      )
13   KOUTKEO THI,                     )
                                      )
14                    Defendant.      )
     _________________________________)
15
16
                                         ORDER
17
           For the reasons set forth in the motion to dismiss filed by
18
     the United States, IT IS HEREBY ORDERED that:
19
           Count one of the indictment against defendant KOUTKEO THI
20
     in Case No. CR-S-08-389 GEB is hereby DISMISSED pursuant to
21
     Federal Rule of Criminal Procedure 48(a) without prejudice.
22
23   Dated: September 28, 2011

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25                                    GARLAND E. BURRELL, JR.
                                      United States District Judge
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